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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

RAY SCAIFE, et al.,                                 )
                                                    )
        Plaintiffs,                                 )
                                                    )
        v.                                          )         CAUSE NO. 3:04-CV-738 CAN
                                                    )
KAREN ROUSH, et al.,                                )
                                                    )
        Defendants.                                 )

                                      ORDER AND OPINION

        This case arises out of allegations of discriminatory sales practices involving real estate

in violation of the Fair Housing Act of 1988, 42 U.S.C. § 3600 et seq., and the South Bend

Municipal Code at 2-127(b). On December 17, 2004, Defendants Karen Roush and Re/Max 100

(collectively known at “Re/Max”) filed a motion to dismiss for lack of subject matter

jurisdiction. On January 24, 2005, Defendant Federal National Mortgage Association (“Fannie

Mae”) filed a motion to dismiss. This case requires this Court to determine whether the federal

thirty day statute of limitations, the state thirty day statute of limitations, or a different statute of

limitations applies. On May 13, 2005, this Court conducted an in-court hearing. Appearing for

all Plaintiffs was Aladean Rose. James Grove appeared for Re/Max, while Thomas Brunner and

Evan Stolove appeared for Fannie Mae. For the reasons announced in open court and set forth

below, Re/Max’s motion to dismiss [Doc. No. 5] is GRANTED and Fannie Mae’s motion to

dismiss [Doc. No. 16] is GRANTED IN PART and DENIED IN PART.

I.      RELEVANT BACKGROUND

        The facts construed most favorably to Plaintiffs as the non-moving party are that

Plaintiffs Ray and Dorothy Scaife are African-Americans. Defendant Roush is a real estate
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broker and Re/Max’s agent. Roush is also an authorized listing agent for real estate owned and

managed by Defendant Fannie Mae. On or around December 3, 2003, Fannie Mae entered into

an exclusive listing contract with Re/Max for a piece of real estate located at Lot 97 Belle

Village Section C. The list price for the Belle Village property was $19,500.

        Around December 8, 2003, Mrs. Scaife met with Roush to discuss purchasing the Belle

Village property. Mrs. Scaife made a written offer to purchase the property for $22,200, which

was financed through a conventional mortgage. Roush informed Mrs. Scaife that the deadline

for submitting bids was 12:00 p.m. on December 8, 2003. On December 9, 2003, Don Kreg,

who is not a minority, submitted an offer to purchase the real estate for $22,000 cash. Fannie

Mae accepted Kreg’s lower cash bid despite the alleged December 8, 2003 deadline. After

Fannie Mae accepted Kreg’s bid, Roush notified Mrs. Scaife that Fannie Mae had accepted

another bid.

        On January 14, 2004, the Scaifes filed a charge of discrimination against Roush, Re/Max,

and Fannie Mae with the South Bend Human Rights Commission (“SBHRC”) alleging that they

had been victims of race discrimination in connection with the sale of the Belle Village property

because Mrs. Scaife’s higher bid was rejected for a lower cash sale bid. After conducting an

investigation, on May 21, 2004, SBHRC issued its fact finding and proposed conciliation,

finding probable cause for a violation of the South Bend City Ordinance No. 8410-93. The

SBHRC, an agency with HUD certification and created under the laws of Indiana, notified

Defendants that they had twenty days to opt-out of agency proceedings and have this claim heard

by either a state or federal court.




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       Fannie Mae served its opt-out notice on June 10, 2004, while Re/Max filed its opt-out

notice on June 14, 2004. On December 1, 2004, Plaintiffs, Ray and Dorothy Scaife individually,

and SBHRC, filed a complaint against Defendants alleging racial discrimination in violation of

the Fair Housing Act of 1988, 42 U.S.C. § 3600 et seq. (“FHA”) and the South Bend Municipal

Code at 2-217(b). Plaintiffs’ complaint alleged that Fannie Mae’s practice of preferring cash

offers over conventional financed offers has a disparate, discriminatory effect upon low income

minority persons. Plaintiffs also alleged that Re/Max perpetuated the discriminatory conduct of

Fannie Mae.

       On December 17, 2004, Re/Max filed a motion to dismiss alleging that this Court lacked

subject matter jurisdiction because Plaintiffs did not file their claim within thirty days of

receiving the opt-out notice as required by 42 U.S.C. § 3612(o). On January 24, 2005, Fannie

Mae filed a similar motion to dismiss, but stated that this Court lacked subject matter jurisdiction

because Plaintiffs did not file their claim within thirty days of receiving the opt-out notice as

required by Ind. Code § 22-9.5-6-13. In the alternative, Fannie Mae asserted that Plaintiffs’

claims should be dismissed because they failed to state a claim upon which relief could be

granted. Parties consented to this Court’s jurisdiction on March 24, 2005. This Court may rule

on both motions to dismiss pursuant to the parties’ consent and 28 U.S.C. § 636(c).

II.    DEFENDANTS’ 12(b)(1) MOTIONS TO DISMISS

       A.      SBHRC’s Claims are Barred by the Thirty Day Filing Requirement

       Both Re/Max and Fannie Mae have filed motions to dismiss, alleging that SBHRC’s

claims are barred because it failed to file a court action within thirty days of receiving the opt-out

notifications. SBHRC contends that it is not required to file an action within thirty days because


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neither the federal or state statute that require complaints to be filed within thirty days applies in

the present situation. Rather, SBHRC argues that the South Bend ordinance applies and that the

ordinance does not have a thirty day filing requirement.

       Although Defendants’ motions are similar, they cite to different statutes which arguably

support their respective positions. Both the federal and Indiana fair housing laws contain nearly

identical provisions requiring an entity, either the Attorney General for a federal claim, or the

commission, including local agencies, for a state claim, to file a complaint within thirty days of

receiving the opt-out notice. 42 U.S.C. § 3612(o) requires that:

               If an election is made under subsection (a) of this section, the Secretary shall
               authorize, and not later than 30 days after the election is made the Attorney
               General shall commence and maintain, a civil action on behalf of the aggrieved
               person in a United States district court seeking relief under this subsection.

Similarly, the Indiana statute provides:

               If a timely election is made under section 13 of this chapter, the commission shall,
               not later than thirty (30) days after the election is made, file a civil action on
               behalf of the aggrieved person seeking relief under this section in a circuit or
               superior court that is located in the county in which the alleged discriminatory
               housing practice occurred.

Ind. Code § 22-9.5-6-13.

       As evidenced by the Defendants’ motions and the arguments made at the hearing, this

Court must determine which statute governs this case. However, the similarity of the purposes

of these statutes allow this Court to conclude that even absent explicit language in the South

Bend Municipal Code, the SBHRC is required to file a claim in court within thirty days of

receiving the opt-out notification.




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        B.       Analysis

        The FHA allows the Secretary of HUD to certify local agencies who have local fair

housing laws that are substantially equivalent to the federal laws. 42 U.S.C. § 3610(f)(3). Once

an agency is certified, individuals may file complaints alleging violations of both the federal fair

housing laws and local ordinances with the certified local agency. See United Farm Bureau Mut.

Ins. Co., Inc. v. Metropolitan Human Relations Com'n, 24 F.3d 1008, 1010 (7th Cir. 1994). The

Secretary of HUD will defer to the state or local proceedings when a filed complaint is within

the jurisdiction of the locality. See 42 U.S.C. § 3610(f)(2).

        While a local agency may become a certified HUD agency, the authority to initially

create a local agency is found in Ind. Code §§ 22-9-1-12.1; 22-9.5-4-1. These sections provide

for the creation of local agencies which can then promulgate rules and enforce regulations that

are consistent with the purpose behind Indiana’s civil rights’ laws. See also United Farm

Bureau, 24 F.3d at 1010 (stating that creation of a local civil rights agency was made possible by

the Indiana Civil Rights Act). Although broad in scope, the Indiana Code does not give the local

agencies the power to enact laws that are inconsistent with the purpose behind the state laws.

Like the companion federal laws, Indiana will also defer prosecution of a complaint to a local

agency. Ind. Code § 22-9.5-4-8.

        SBHRC is a local human rights commission that was initially created under the power

established by Ind. Code §§ 22-9-1-12.1 and 22-9.5-4-1. Pursuant to the authority found in the

Indiana Code, the City of South Bend adopted a fair housing city ordinance. The ordinance,

however, does not contain a limitation for the filing of a civil complaint by the SBHRC. Even

though the ordinance is silent on this matter, it must nonetheless be read consistently with the

state statute.

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       After reviewing both the federal and state statutory schemes, this Court concludes that

allowing a local agency to file a claim outside of the thirty day period would be inconsistent with

the purpose of the fair housing laws. Under the city ordinance, the SBHRC has more authority

to file a claim on an individual’s behalf than either federal or state agencies, since both the

federal and state laws defer to local agencies to prosecute a claim that falls within the local

commission’s jurisdiction. However, both the federal and state laws require their respective

agencies, which have substantially equivalent responsibilities and duties as the SBHRC, to file a

complaint within thirty days. This expedited process fosters two goals. First, after an agency

has conducted a preliminary investigation and has determined that probable cause exists, prompt

agency action encourages a prompt resolution of the claim, which inures to the benefit of the

plaintiffs whose civil rights have allegedly been violated. Second, the expedited process

prevents potential Defendants from being forced to remain in the land of legal uncertainty for an

extended period of time while an agency decides if it is going to file a civil action.

       As the Indiana Supreme Court persuasively stated when interpreting the Indiana statute in

Indiana Civil Rights Commission v. Indianapolis Newspapers, Inc., 716 N.E.2d 943, 947 (Ind.

1999), to allow parties to file claims outside of the thirty day period would leave all parties

“...dangling in the uncertainty of laches, waiver, tolling, and related doctrines” and frustrates the

enforcement purposes of the civil rights laws. Id. (stating that the timing requirement

“...obviously reflects a legislative policy to move these matters along. An open-ended time frame

for filing by the Commission would frustrate that goal.”). Having a thirty day requirement in

which an agency must file a civil claim also furthers enforcement goals because it puts potential

individual plaintiffs on notice as to when they need to act in the absence of the commission. Id.

This reasoning is equally applicable to the present case despite the fact that SBHRC’s complaint

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does not allege a violation of Indiana law. Because the South Bend ordinance is silent as to

when the SBHRC must file a claim, this Court will apply by analogy Indiana’s statute of

limitations so that the city ordinance is consistent with the state statute.

         This conclusion is supported by similar analysis regarding the statute of limitations for

individuals in civil rights cases. In deciding the appropriate statute of limitations for a § 1983

claim, the Supreme Court stated that 42 U.S.C. § 1988 required a court to apply the state’s

appropriate personal injury statute of limitations. See generally Owens v. Okure, 488 U.S. 235

(1989); Wilson v. Garcia, 471 U.S. 261 (1985). What this Court proposes is akin to adopting the

personal injury statute of limitations for individual actions. However, since the SBHRC is not an

individual, this Court applied the relevant state statute for local agencies who file similar claims

alleging a violation of state law.1 Therefore, this Court concludes that, like the civil rights cases

before, applying the applicable state statute of limitations to the federal claim when the federal

statute is silent is appropriate.

         SBHRC attempts to rebut this conclusion by asserting that since it is a certified HUD

agency, it was not required to follow the thirty day requirement because HUD certified the

ordinance as substantially equivalent even without the thirty day notification period. The parties

do not dispute, nor does this Court question that SBHRC is a certified local agency whose

policies have been found to be substantially equivalent to the FHA. While the ordinance may be

substantially equivalent, this Court is not persuaded that the certification would allow the

SBHRC to enact policies that are inconsistent with the purpose behind the fair housing laws.



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           This Court is aware that 28 U.S.C. § 1658 attempts to create a uniform federal statute of limitations for
civil actions arising under an act of Congress. However, 28 U.S.C. § 1658 only applies to causes of actions that
were created after 1990. As the Fair Housing Act created a cause of action allowing local agencies to file federal
claims before 1990, 28 U.S.C. § 1658 does not require a four year statute of limitations in this instance.

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       Consequently, reading the federal, state, and city ordinance in conjunction and after

examining the respective public policy principles they collectively seek to advance, this Court

concludes that despite the absence of specific language in the South Bend ordinance, the claims

for violations of the federal FHA and the South Bend ordinance must be brought by the SBHRC

within thirty days of receiving the opt-out notification. Allowing otherwise creates conflicts

between federal, state, and local civil rights’ enforcement schemes and would frustrate the

purpose behind the fair housing laws. Therefore, Defendants’ motions to dismiss Plaintiff

SBHRC are GRANTED.

       C.      The Scaifes’ Have a Separate Claim which Survives the Rule 12(b)(1) Motions to
               Dismiss

       Plaintiffs correctly argue that even if the SBHRC is dismissed from this case, the Scaifes

have an individual claim against the Defendants that remains because the Scaifes, as individuals,

were not required to file a complaint within the thirty day time period. Fannie Mae alleged that

the Scaifes should not be allowed to proceed in this action absent the SBHRC because the

SBHRC filed the action on behalf of the Scaifes.

       While Fannie Mae concedes that individual plaintiffs may intervene in an action initially

filed by a human rights agency, or file their own separate case within two years of the alleged

discrimination, it argues that the Scaifes did not intervene in this action, but that the SBHRC

filed a claim on behalf of the Scaifes. The Scaifes have asserted an individual claim against the

Defendants simultaneous with the SBHRC. The simultaneous filing of the complaint should not

prevent the Scaifes from proceeding on an otherwise viable individual claim that was filed well

within the individual statute of limitations.




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       Although there may be questions as to who can properly represent the Scaifes, because

the Scaifes’ current counsel is also counsel for the SBHRC, that issue is not currently before this

Court. As a result, this Court DENIES Fannie Mae’s motion to dismiss as it relates to the

Scaifes because the Scaifes are entitled to bring an individual action against the Defendants.

Because this Court is dismissing the SBHRC from this action and is not sure whether the Scaifes

desire to maintain an individual action, this Court now ORDERS the Scaifes to file a signed

statement indicating whether they wish to proceed in this action solely in their individual

capacity and whether they wish to proceed with or without private counsel. This statement must

be filed with this Court by June 10, 2005.

D.     FANNIE MAE’S 12(b)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Fannie Mae also moved to dismiss Plaintiffs’ complaint for failure to state a claim by

asserting that Plaintiffs have failed to establish their prima facie case of racial discrimination. At

the hearing, Re/Max orally joined in Fannie Mae’s motion to dismiss for failure to state a claim.

       A.      Rule 12(b)(6) Standard

       Fed R. Civ. Pro. 12(b)(6) allows this Court to dismiss a cause of action where a party

fails to state a claim upon which relief can be granted. In ruling on a Rule 12 motion, dismissal

is proper “only if it is clear that no relief could be granted under any set of facts that could be

proved consistent with the allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

Notice pleading under Fed. R. Civ. P. 8 is satisfied where a plaintiff provides “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Generally, “mere vagueness

or lack of detail does not constitute sufficient grounds for a motion to dismiss.” Strauss v. City of

Chicago, 760 F.2d 765, 767 (7th Cir. 1985). In order to properly plead claims of discrimination

in the form of adverse disparate impact, the plaintiff need only allege an occurrence of outwardly

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neutral practices that have significant adverse or disproportionate impact on a protected class.

Wallace v. Chicago Housing Authority, 298 F. Supp.2d 710, 722 (N.D. Ill. 2003).

        B.      Plaintiffs’ Complaint Alleges Sufficient Facts to State a Claim

        In the motion to dismiss, Defendants assert that the Plaintiffs do not allege Defendants

intentionally discriminated against Plaintiffs, or that Defendants even knew of Plaintiffs’ race.

Hence, Defendants argue that Plaintiffs have failed to allege sufficient facts to support a claim of

disparate impact. Defendants then argue that Plaintiffs cannot prove that Fannie Mae’s policy

does not have a legitimate business justification under the standard articulated in Ward’s Cove

Packing Co. v. Atonio, 490 U.S. 642 (1989).

        In Plaintiffs’ complaint, they allege that:

                Fannie Mae’s policy and practice of preferring cash real estate offers over
                conventional or other financed offers of equal value has a disparate,
                discriminatory effect upon low income minority persons who desire to purchase
                real estate...

Pl. Comp. ¶ 28. Furthermore, Plaintiffs contend that by accepting the lower cash offer of a white

purchaser, Defendants refused to sell a dwelling to the Plaintiffs because of race. Finally,

Plaintiffs assert that the cash sale preference constitutes a refusal to sell real estate and

discrimination in the sale of real estate because of race and in violation of the FHA, specifically

42 U.S.C. § 3603(a) and (b).

        Plaintiffs have alleged sufficient facts to withstand a motion to dismiss for failure to state

a claim since they have alleged that there was racial discrimination in connection with real estate

that is covered under the FHA. In accordance with Wallace, Plaintiffs have alleged an outwardly

neutral policy, preferring cash transactions over other forms of financing, which allegedly have a

disproportionate impact on a protected class, minorities, in this instance, African-Americans.


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While Plaintiffs’ complaint does not contain extensive and fact intensive allegations, such an in-

depth complaint is not contemplated or required by notice pleading under Rule 8.

       In addition, the fact that Plaintiffs have not proven that Defendants did not have a

legitimate business reason for preferring cash sales is an issue that is more suitable to disposition

on a motion for summary judgment where extrinsic evidence may be submitted. Therefore, this

Court concludes that Plaintiffs have alleged sufficient facts to withstand a motion to dismiss for

failure to state a claim and Defendants’ motion to dismiss based upon failure to state a claim is

DENIED.

IV.    CONCLUSION

       For the aforementioned reasons, Re/Max’s motion to dismiss Plaintiff SBHRC [Doc. No.

5] is GRANTED. Fannie Mae’s motion to dismiss [Doc. No. 16] is GRANTED IN PART and

DENIED IN PART. Specifically, Fannie Mae’s motion is granted as it relates to the claims

asserted by Plaintiff SBHRC. Fannie Mae’s motion is denied as it relates to the claims asserted

by the Scaifes, and its motion to dismiss for failure to state a claim. All claims asserted by

SBHRC are now DISMISSED. SBHRC is no longer a party in this action. Because SBHRC is

no longer a Plaintiff in this case, the Scaifes are ORDERED to file a signed statement indicating

whether they wish to proceed with their individual claims against the Defendants and whether

they wish to proceed with or without private counsel. The statement shall be filed with this

Court by June 10, 2005.

       SO ORDERED.

       Dated this 27th Day of May, 2005.

                                                      s/Christopher A. Nuechterlein
                                                      Christopher A. Nuechterlein
                                                      United States Magistrate Judge

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